             Case 3:23-cr-00011-RSB-JCH                          Document 240                      Filed 11/22/24                  Page 1 of 1
                                                                 Pageid#: 1112

✎AO 187 (Rev. 7/87) Exhibit and Witness List

                                     UNITED STATES DISTRICT COURT
                                                        WESTERN DISTRICT OF VIRGINIA
             United States of America
                          V                                         EXHIBIT AND WITNESS LIST
               Scott Howard Jenkins
                                                                    Case Number: 3:23cr11
PRESIDING JUDGE                           PLAINTIFF'S ATTORNEY                                  DEFENDANT'S ATTORNEY
                                          Celia Choy, Lina Peng, Melanie Smith
Robert S. Ballou                                                                                Philip Andonian, Joseph Caleb
TRIAL DATES                               COURT REPORTER                                        COURTROOM DEPUTY

11/22/2024                                Lisa Blair                                            Kelly Brown
   PLF           DEF         DATE
                                               MARKED    ADMITTED DESCRIPTION AND EXHIBITS* AND WITNESSES
   NO            NO         OFFERED
     x                      11/22/2024                              John Doran, MD, sworn

                                                                    Ex 2-treatment notice and discharge paperwork (filed under seal at
     2                      11/22/2024                                                                                                        Doran
                                                                    DE237

     x                      11/22/2024                              David Brooke Miller, MD, sworn

     x                      11/22/2024                              Will Goodrich, MD, sworn

                                                                    Ex 4-Culpeper Medical Center medical records (filed under seal at
     4                      11/22/2024                                                                                                       Goodrich
                                                                    DE 237)

     x                      11/22/2024                              Andrew Clouser, FBI, sworn

                                                                    Ex 1, audio file of morning of deft's self surrender and arrest in FBI
     1                      11/22/2024           x           x                                                                               Clouser
                                                                    office.

     x                      11/22/2024                              Mariana Salazar, USPO, sworn

     5                      11/22/2024           x           x      Ex 5, USM130 Form (to be filed under SEAL)

     6                      11/22/2024                              Ex 6, Pretrial Report (filed at DE32)




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.                             Page 1 of 1
